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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 VYRONE FINNEY,                                 )
                                                ) CASE NO. 5:23-CV-01998
         Plaintiff,                             )
                                                ) JUDGE BRIDGET M. BRENNAN
 vs.                                            )
                                                )
 AKRON CITY SCHOOL DISTRICT                     )
 BOARD OF EDUCATION, et al.,                    )
                                                )
         Defendants.                            )

                       STIPULATED DISMISSAL WITH PREJUDICE

        Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii) and applicable rules, all parties who have made

an appearance in the instant action hereby stipulate that the Plaintiff hereby dismisses the instant

action with prejudice as the parties have reached an amicable resolution of the underling disputes.

                                              Respectfully submitted,

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                                Molenaur, Job Perry, Curtis Walker, David James,
                                Christine Fowler-Mack, Mary Outley, Ellen
                                McWilliams-Woods, Mark Black, Kathleen McVey,
                                Tod Wammes, Tammy Brady, Dan Rambler, Joshua
                                Allen, Ryan Pendleton, Todd Adkins and Diana Feitl




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 26, 2025, the foregoing was filed electronically. Notice of this

filing will be sent to all registered parties by operation of the Court’s electronic filing system.

Parties may access this filing through the Court’s system.

                                              /s/ Matthew John Markling
                                              MATTHEW JOHN MARKLING (0068095)
                                              Counsel for Plaintiff




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